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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   Southern Division

NEFERTITI WINTERS,                        :
                                          :
                        Plaintiff,        :
                                          :
v.                                        :                 Civil Case No. 8:17-cv-01580-TDC
                                          :
SANTANDER CONSUMER USA INC.,              :
                                          :
                        Defendant.        :
__________________________________________:

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties, pursuant to Rule 41, stipulate to the dismissal of this action, with prejudice,

each party to bear its own costs and fees.

Respectfully submitted,

_/s/ Kristi C. Kelly____________                  _/s/ Andrew L. Cole _________
Kristi Cahoon Kelly, Esq. (No. 07244)             Andrew L. Cole, Esq. (No. 14865)
Kelly Guzzo, PLC                                  LeClairRyan
3925 Chain Bridge Road, Suite 202                 410 Severn Avenue,
Fairfax, Virginia 22030                           Building C, Suite 216
(703) 424-7576 - Telephone                        Annapolis, MD 21403
(703) 591-0167 - Facsimile                        (443) 837-1135 - Telephone
E-mail: kkelly@kellyguzzo.com                     (410) 224-0098 - Facsimile
                                                  E-Mail: andrew.cole@leclairryan.com
Counsel for Plaintiff
                                                   Counsel for Santander Consumer USA Inc.
